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11

12                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
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     JUNHAN JEONG, individually and on behalf of   Case No.: 5:21-CV-02392-BLF
15   all others similarly situated,
                                                   DECLARATION OF KYLE ROCHE
16                            Plaintiff,
                                                   Date:      February 23, 2022
17                                                 Time:      9:00 a.m.
                         v.                        Courtroom: 3, 5th Floor
18                                                 Judge:     Hon. Beth Labson Freeman
     NEXO CAPITAL INC.,
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                              Defendant.
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 1                                   DECLARATION OF KYLE ROCHE
 2          I, Kyle Roche, declare:
 3          1.     I am an attorney admitted in New York. I was previously counsel for Plaintiff admitted
 4   pro hac vice in this matter.
 5         2.      In January 2022, I traveled to London to meet with Christen Ager-Hanssen. I was
 6   introduced to Mr. Ager-Hanssen through someone at Ava Labs, a then-current client.
 7         3.      At the time, my understanding was that the purpose of the meetings was to discuss a
 8   potential multimillion-dollar investment from Mr. Ager-Hanssen in a litigation funding venture
 9   that I had co-founded. Mr. Ager-Hanssen paid for me and my now-fiancée to travel first-class to
10   London. He also paid for our accommodations while there.
11         4.      These meetings, including a dinner meeting, were recorded without my knowledge or
12   consent. I learned this in August 2022, when a website called CryptoLeaks released the footage
13   that the Defendant in this action cites. The video clips themselves are highly edited, spliced, cut,
14   and otherwise taken into context. The result is, in my view, a highly misleading account of what
15   was discussed and what transpired at those meetings.
16         5.      Nevertheless, I acknowledge that, during the videos, I made statements that were
17   highly inappropriate and that I deeply regret. My statements about jurors and class members, made
18   while intoxicated at dinner, do not reflect my true views.
19          6.      To be clear, I have never filed a class action at the direction of or for the benefit of
20   any entity (client or otherwise) not named a party. Nor have I ever disclosed or used, for any
21   collateral purpose, any confidential information obtained in connection with any lawsuit.
22          7.     This action is no exception. Roche Freedman LLP filed this action on behalf of
23   Plaintiff because we believe that it is meritorious, and because we believe that Plaintiff and the
24   proposed class suffered substantial economic harm. Neither I nor anyone at the Firm has obtained
25   any confidential discovery material in connection with this action, because there has been no
26   discovery.
27         8.      I am no longer representing Ava Labs in any matter, and as of October 17, 2022, I am
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                      DECLARATION OF KYLE ROCHE – No. 5:21-cv-02392-BLF
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 1   no longer a member of Roche Freedman LLP, which is now known as Freedman Normand
 2   Friedland LLP. I am now practicing law at Kyle Roche P.A., with offices located at 260 Madison
 3   Avenue, 8th Floor, New York, New York 10016.
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 5          I declare under penalty of perjury under the laws of the United States that the foregoing is
 6   true and correct to the best of my knowledge.
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 8   Dated: November 21, 2022                    Respectfully Submitted,
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                                                 Kyle Roche
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                     DECLARATION OF KYLE ROCHE – No. 5:21-cv-02392-BLF
